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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


JOMY STERLING,

                  Plaintiff,

v.                                              Case No: 6:21-cv-723-PGB-EJK

MADILYNN DE LA ROSA,

                  Defendant.
                                    /

                                   ORDER

      This cause is before the Court on the parties’ Motion for Settlement and

Mediation Conference. (Doc. 50). The parties request a settlement and mediation

conference before an assigned Magistrate Judge of this Court somewhere between

September 5, 2023 and September 18, 2023. (Id.).

      Accordingly,

      1.    This case is REFERRED to United States Magistrate Judge Daniel

            Irick, who is not assigned to this case, to conduct a settlement

            conference.

      2.    The parties shall attend the conference at Magistrate Judge Irick’s

            direction, the details of which will be contained in a separate order

            issued by Magistrate Judge Irick.

      DONE AND ORDERED in Orlando, Florida on September 1, 2022.
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Copies furnished to:

Counsel of Record
Unrepresented Parties




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